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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
TITLEMAX OF TEXAS, INC., IVY §
FUNDING COMPANY LLC, and NCP §
FINANCE LIMITED PARTNERSHIP §
§
§
v. § CIVIL ACTION NO. 3:21-CV-1040-S-BN
§
§
CITY OF DALLAS §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

The United States Magistrate Judge made findings, conclusions, and a recommendation
(“FCR”) in this case [ECF No. 27]. Defendants filed objections (“Objections”) [ECF No. 34].
The District Court reviewed de novo those portions of the FCR to which objection was made and
reviewed the remaining portions of the FCR for plain error.

Plaintiffs object that the Magistrate Judge imposed an inappropriately high standard for
obtaining preliminary injunctive relief. See Objs. 6-11. This Court agrees with the Magistrate
Judge that the appropriate standard to apply is the standard for mandatory injunctions, as laid out
in the FCR, as opposed to the lower standard for prohibitory injunctions. See FCR 5-11. However,
considering the record, and for the reasons expressed in the FCR, Plaintiffs also cannot prevail
under the lower burden of proof they urge this Court to apply.

Accordingly, the Court finds no error, and ACCEPTS the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge. Plaintiffs TitleMax of Texas, Inc., Ivy

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Funding Company LLC, and NCP Finance Limited Partnership’s motion for a preliminary
injunction under Federal Rule of Civil Procedure 65 [ECF. No. 11] is therefore DENIED.
SO ORDERED.

SIGNED October 27, 2021.

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

